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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Kirschner v. JP Morgan Chase Bank, N.A.                   _____             Docket No.: 21-2726 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

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Appearance for: Securities and Exchange Commission / Amicus Curiae
                                              (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                       )
                                              (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                      )
                                                         (name/firm)

G Additional counsel (co-counsel with:                                                                              )
                                                         (name/firm)

G Amicus (in support of: Neither party
✔                                                                                                                   )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on N/A                                                                                               OR

G I applied for admission on                                                                                        .


Signature of Counsel: /s/ John R. Rady

Type or Print Name: John R. Rady
